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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

MUTUAL OF OMAHA                       )
MORTGAGE, INC.,                       ) Civil Action No. 22-CV-01660
                                      )
                     Plaintiff,       ) PLAINTIFF MUTUAL OF OMAHA
                                      ) MORTGAGE, INC.’S MOTION TO
      v.                              ) COMPEL SECOND DEPOSITIONS OF
                                      ) DWAYNE HUTTO AND CHRISTOPHER
WATERSTONE MORTGAGE                   ) SMITH       AND      FOR     SANCTIONS
CORPORATION,                          ) PURSUANT TO FED. R. CIV. P. 37
                                      )
                     Defendant.       )


      Plaintiff Mutual of Omaha Mortgage, Inc. (“Plaintiff” or “Mutual”) hereby

files this Motion to Compel Second Depositions of Dwayne Hutto and Christopher

Smith and for Sanctions Pursuant to Fed. R. Civ. P. 37. In support thereof, Plaintiff

states as follows:

                                  INTRODUCTION

      During two recent depositions, counsel for Defendant Waterstone Mortgage

Corporation (“Defendant” or “Waterstone”) violated the Federal Rules of Civil

Procedure when she improperly instructed her witnesses not to respond to non-

privileged questions involving highly relevant information related to the witnesses’

employment agreements with Waterstone (“Agreements”).            Plaintiff’s counsel

called this Court’s chambers to inquire about whether District Judge Barber or

Magistrate Judge Sneed would be available to preside over disputes that had arisen
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during the depositions, including the dispute at issue in this Motion. The Court’s

chambers informed the Parties that neither were available, that any objections should

be made on the record, and the depositions should continue. Despite this explicit

instruction, Defendant’s counsel, Maria Kreiter (“Ms. Kreiter”) refused to comply

and maintained her position that the witnesses should not respond to any questions

related to these Agreements over the course of two separate depositions.

      In these depositions, for the very first time in this case—which has been

pending since July of 2022—Ms. Kreiter made a false representation that a conflict

of interest existed between the undersigned’s current representation of Plaintiff and

Waterstone because Mr. Karen previously represented Waterstone and drafted the

employment agreements at issue in this case—a patently false accusation that Ms.

Kreiter could have easily discovered. On those grounds, Ms. Kreiter instructed the

witnesses not to respond.

      The facts demonstrate that Defendant’s claim amounts to a baseless litigation

tactic intended to impede Plaintiff’s right to seek discovery. Mitchell Sandler LLC,

where Mr. Karen is employed, has represented Plaintiff since the inception of this

case. Indeed, Mitchell Sandler, LLC is the law firm identified on the initial pleading.

Thus, even if a conflict existed, which it does not, any conflict would have been

imputed to the firm one year ago. Defendant and its counsel very well should have

raised any concerns at that point. Notwithstanding this, Mr. Karen himself appeared



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in this case in March of this year, yet Ms. Kreiter waited until the middle of the

deposition of Dwayne Hutto—a critical witness—to raise this alleged conflict.

Defendant maintained this objection the very next day during the deposition of

Christopher Smith—another critical witness—even though she had plenty of time to

engage in the necessary due diligence and ascertain that the Agreement at issue is

materially different from a completely different agreement Mr. Karen previously

assisted Waterstone with drafting approximately ten years ago. Thus, no meritorious

basis existed for her objection and with a minimal amount of effort – comparing the

distinct agreements—counsel could have discovered this before impeding the

depositions.1

      To date, Defendant’s counsel has not sought a protective order, which she is

required to do under the Federal Rules of Civil Procedure upon instructing her

witnesses not to respond, nor has she moved to disqualify Mr. Karen or his law firm.

This is clearly because her instruction to the witnesses not to answer was a pure

litigation tactic intended to obstruct proper discovery and prevent Plaintiff from

receiving highly relevant testimony.




1
      Compare Exhibit A, Herrington v. Waterstone Mortgage Corp., Case No.
3:11-cv-00779-bbc (W.D. Wis. 2011), Waterstone Mortgage Corporation Loan
Originator Employment Agreement (ECF No. 15-2) (“Ex. A”), with Exhibits B and
C, Waterstone Corporation Producing Branch Manager Employment Agreement for
Dwayne Hutto (“Ex. B”) and Christopher Smith (“Ex. C”), respectively.

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      As a result, Plaintiff’s counsel is left with no choice but to file this motion

under Federal Rule of Civil Procedure 37 to compel the second depositions of Mr.

Hutto and Mr. Smith, to request Plaintiff’s fees and costs for the depositions, and for

the fees and costs associated with bringing this Motion.

                           FACTUAL BACKGROUND

      On July 22, 2022, Plaintiff filed this Complaint against Defendant. ECF No.

1.   On behalf of Plaintiff, Christopher McCall with Mitchell Sandler, LLC first

appeared in this case on July 22, 2022. On March 9, 2023, Courtney Walter, also

with Mitchell Sandler, LLC appeared, ECF No. 54, and on March 22, 2023, the

Court granted Ari Karen’s motion to appear pro hac vice, ECF No. 58. Thus, there

is no question that Defendant was aware of Mitchell Sandler LLC’s continuous

representation of Plaintiff from the inception of this case. Nor did Defendant ever

move to disqualify Mitchell Sandler, LLC, or any attorney employed there.

      On May 30, 2023, Plaintiff’s counsel issued Notices of Deposition for Mr.

Hutto and Mr. Smith scheduled for June 15 and June 16, respectively. During Mr.

Hutto’s deposition on June 15, 2023, Mr. Karen began questioning Mr. Hutto about

various provisions of his Mortgage Producing Branch Manager Agreement (“Ex.

B”) that he had with Waterstone.         After approximately ten (10) minutes of

questioning where Mr. Hutto provided damaging information against Waterstone,

Ms. Kreiter requested a break, and upon returning, made an accusation—for the first



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time in this litigation—that Mr. Karen had a role in drafting the Agreement through

his prior representation of Waterstone.

Ms. Kreiter:        So I need to put on the record, during the break Ms. Ziebell
                    alerted me to the fact that Ari Karen, the attorney
                    representing Mutual in this case was previously
                    representing Waterstone. In fact, Mr. Karen was lead
                    counsel for Waterstone for nearly 10 years in a case that
                    involved employment practices. That representation
                    required Mr. Karen to be in close communication with
                    Waterstone leadership and branch managers regarding
                    employment matters.

                    Importantly, that representation included drafting the
                    Waterstone employment agreement that is now marked as
                    Deposition Exhibit 1. Waterstone objects to the entire line
                    of questioning by Mr. Karen of this witness or any other
                    witness due to a clear conflict of interest by opposing
                    counsel. The work-product of opposing counsel for its
                    former client Waterstone is now being used at a deposition
                    in which Waterstone is the adversary. We ask that
                    opposing counsel refrain from any questioning of the
                    witness based on his work-product, namely, the
                    Waterstone employment agreement.

Hutto Dep. 30:13-25-31:1-8, attached as Ex. D.               Despite a thorough and

comprehensive explanation from Mr. Karen that the two agreements were not the

same in any respect, Ms. Kreiter stated, “I’m going to instruct the witness not to

answer any questions about Exhibit 1 at this deposition.” Id. at 33:7-9. And at that

point, Plaintiff’s counsel asked no further questions of the witness about this Exhibit.

      To be clear, Mr. Karen represented Defendant in a Fair Labor Standards Act

(“FLSA”) collective action that was filed on November 18, 2011—almost twelve



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years ago. See Herrington v. Waterstone Mortgage Corp., Case No. 3:11-cv-00779-

bbc (W.D. Wis. 2011). Even a cursory glance at the Herrington Complaint confirms

that action and Mr. Karen’s prior representation of Waterstone substantially differs

from Mr. Karen’s representation in this action. The scope of the representation was

entirely different, and it cannot be said that these two matters are the same or

substantially similar. Further, the Herrington agreement addresses a loan originator,

whereas Mr. Hutto’s and Mr. Smith’s agreement involves a branch manager.

Moreover, the issues in this case involving duties of loyalty and restrictive covenants

have little similarity to issues pertaining to minimum wage and overtime. The

provisions that Mr. Karen asked Mr. Hutto about involved Mr. Hutto’s exact duties

under the agreement—and the indemnification and confidentiality provisions—are

entirely different from any provisions in the Herrington agreement.

      Yet, despite these striking differences, Defendant’s counsel continued to

instruct Mr. Hutto not to answer any questions related to the Agreement.

      Thereafter, Mr. Karen and Ms. Courtney Walter called the judge’s chambers

to inquire whether the District Judge or Magistrate Judge would preside over

disputes that had arisen during the deposition. On the call, Judge Barber’s chambers

informed Ms. Walter that neither the Judge nor the Magistrate Judge were available

to assist with the dispute. Judge Barber’s chambers informed the parties that they

should make the objections on the record and continue with the deposition.



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Notwithstanding this, Ms. Kreiter maintained her position and instructed her witness

not to answer any questions regarding his employment agreement with Waterstone.

      The very next day, on June 16, 2023, the deposition of Mr. Christopher Smith

took place. Despite having 24 hours to compare Mr. Hutto’s and Mr. Smith’s present

agreements with the Herrington agreement and ascertain the significant differences

between the one at issue in this case and the one that Mr. Karen previously assisted

with, Ms. Kreiter failed to do so. Instead, she once again instructed her client not to

respond upon being presented with Mr. Smith’s Agreement.

Ms. Kreiter:        So at this point, opposing counsel has marked Deposition
                    Exhibit 6, which is the WaterStone Mortgage Producing
                    Branch Manager Agreement dated 6/16, signed by Mr.
                    Smith. Yesterday at the deposition, I lodged an objection
                    on the record related to any questions about the
                    WaterStone agreement. I will incorporate that same
                    objection with respect to any questions about this
                    deposition exhibit and any questions by Mr. Karen. I’ll
                    incorporate the statement I made yesterday in full. I won’t
                    repeat it here. But in sum, the objection is that Mr. Karen
                    is an attorney who represented WaterStone in the past, and
                    in connection with that representation, had a role in
                    drafting this employment agreement.

                    On that basis we are instructing the witness not to answer
                    any questions about this exhibit.

Smith Dep. 175:20-25-176:1-14, attached as Ex. E. Following this, Mr. Karen

repeatedly asked Ms. Kreiter about her position and provided her with the requisite

notice that Plaintiff would pursue sanctions against her for her improper instruction

not to respond should she maintain her position.

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Mr. Karen:        First, any – you knew this issue was going to rise
                  yesterday. You’ve known at least for 24 hours. And there
                  was an opportunity to review the two documents, which
                  would clearly reveal that they are highly different.

                  Second, there’s case law that I was able to research that
                  shows that, when I’ve been counsel for this matter for over
                  a year, clearly you guys have waived, and I think you
                  could look at it too.

                  Third, the idea that I wouldn’t ask about this – you knew I
                  would be asking about this. I would also suggest if you
                  look at the conflict rules if, in fact, I had a conflict, that
                  conflict – I don’t know if it would actually translate to the
                  rest of my firm, but it would certainly affect me being
                  counsel to the case, and it wouldn’t matter whether I asked
                  it or somebody else in my firm asked it. So I don’t
                  understand why that would be a valid objection to instruct
                  him not to answer.

                  And lastly, yesterday we called the Court. And you heard
                  the Judge’s instructions. And I really want you to think
                  about this, okay? The Judge – we asked the Judge to talk,
                  and he – the Judges said they were busy, and they said put
                  your objections on the record. And you are now not only
                  putting your objection on the record, you are, despite the
                  Court’s clear messages, communications to us, instructing
                  the witness not to answer. And I want to make sure that
                  you are, in fact, going to maintain the position that despite
                  what the Court told us yesterday, you are instructing this
                  witness not to answer any question about this agreement.

Smith Dep. 179-180, attached as Ex. E. Despite this explanation, Ms. Kreiter

refused to allow Mr. Smith to answer any questions related to the Agreement.

Indeed, she would not allow Smith to even answer if he signed the agreement –

something that clearly has nothing to do with its contents. Smith Dep. 183:11-12



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(“I’m not going to allow questioning about this deposition exhibit.”). While the

deposition proceeded to conclusion, Ms. Kreiter expressly prohibited Defendant

from inquiring into any aspect of Mr. Hutto’s and Mr. Smith’s employment

agreement.

                               LEGAL STANDARD

      Under Federal Rule of Civil Procedure 37(a)(3)(B), “[a] party seeking

discovery may move for an order compelling an answer . . . if (i) a deponent fails to

answer a question asked under Rule 30 or 31.” Pursuant to Rule 37(b)(2)(A),

             If a party or a party’s officer, director, or managing agent . . .
             fails to obey an order to provide or permit discovery . . . the court
             where the action is pending may issue further just order. They
             may include the following:

               i.   Directing that the matters embraced in the order or other
                    designated facts be taken as established for purposes of the
                    action, as the prevailing party claims;

              ii.   Prohibiting the disobedient party from supporting or
                    opposing designated claims or defenses, or from
                    introducing designated matters in evidence;

             iii.   Striking the pleadings in whole or in part;

             iv.    Staying further proceedings until the order is obeyed;

              v.    Dismissing the action or proceeding in whole or in part;

             vi.    Rendering a default judgment against the disobedient
                    party; or




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              vii.   Treating as contempt of court the failure to obey any order
                     except an order to submit to a physical or mental
                     examination.

 Sanctions under Rule 37 can be imposed for a variety of purposes, including: “(1)

 compensating the court and other parties for the added expenses caused by the

 abusive conduct; (2) compelling discovery; (3) deterring others from engaging in

 similar conduct; and (4) penalizing the guilty party or attorney.” Nukote Intern., Inc.

 v. Office Depot, Inc., No. 09-CV-82363-DTKH, 2015 WL 71566, at *8 (S.D. Fla.

 2015); see also Carlucci v. Piper Aircraft Corp., 775 F.2d 1440, 1453 (11th Cir.

 1985).

                                     ARGUMENT

  I.   DEFENDANT’S COUNSEL IMPROPERLY INSTRUCTED THE
       DEPONENTS NOT TO ANSWER QUESTIONS.

       In instructing Mr. Hutto and Mr. Smith not to respond to Plaintiff’s questions

 pertaining to their agreements with Waterstone, Defendant’s counsel clearly violated

 the procedural requirements of the Federal Rules of Civil Procedure. Federal Rule

 of Civil Procedure 30(c) provides the manner in which depositions should be

 conducted and objections should be lodged. Mitnor Corp. v. Club Condos., 339

 F.R.D. 312, 316 (N.D. Fla. 2021). The strictures of Rule 30(c) are designed to

 “expedite and to simplify the discovery process.” Id. Rule 30(c) provides, in

 relevant part, as follows:




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       (1) Examination and Cross-Examination. The examination and
          cross examination of a deponent proceed as they would at trial under
          the Federal Rules of Evidence, except Rules 103 and 615 . . .

       (2) Objections. An objection at the time of the examination—whether
          to evidence, to a party’s conduct, to the officer’s qualifications, to
          the manner of taking the deposition, or to any other aspect of the
          deposition—must be noted on the record, but the examination still
          proceeds; the testimony is taken subject to any objection. An
          objection must be stated concisely in a nonargumentative and
          nonsuggestive manner. A person may instruct a deponent not to
          answer only when necessary to preserve a privilege, to enforce a
          limitation ordered by the court, or to present a motion under Rule
          30(d)(3).

 (emphasis added). Consistent with the goal of affording litigants broad discovery,

 Rule 30(c)(2) “provides only three justifications for instructing a deponent not to

 answer a question: to preserve a privilege; to enforce a limitation imposed by the

 court; or to present a Rule 30(d)(3) motion.” Mitnor Corp. v. Club Condos., 339

 F.R.D. 312, 319 (N.D. Fla. 2021) (citing Gober v. City of Leesburg, 197 F.R.D. 519,

 520 (M.D. Fla. 2000)). To be clear, at no point during their depositions did

 Defendant’s counsel identify any one of the three above-mentioned justifications as

 the basis for which the witnesses should not respond. Instead, Defendant’s counsel

 continued to point to a purported conflict of interest that existed—without providing

 any basis whatsoever for this alleged conflict.

       “Directions to a deponent not to answer a question can be even more

 disruptive than objections.” Quantachrome Corp. v. Micromeritics Instrument

 Corp., 189 F.R.D. 697, 701 (S.D. Fla. 1999) (citing Rule 30, Advisory Committee’s

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 Note (1993 amendments)).         Accordingly, absent one of the three exceptions

 articulated in Rule 30(c)(2), it is impermissible for an attorney to instruct a deponent

 not to answer a question. Id. Unless one of the exceptions enumerated in Rule

 30(c)(2) is applicable, an attorney typically should lodge a succinct objection to

 preserve the issue, allow the deponent to answer the question, and then, if necessary,

 raise the issue with the court in a pretrial or trial motion. Id. at 320.

       In instructing the witnesses not to respond to Mr. Karen’s questions pertaining

 to the Agreement, Ms. Kreiter pointed to a purported conflict of interest in Mr.

 Karen’s representation of Plaintiff, even though she had never previously raised this

 and had been aware of both Mitchell Sandler, LLC’s and Mr. Karen’s representation

 of Plaintiff for over a year. Notwithstanding this, a conflict of interest is not one of

 the three justifications for instructing a deponent not to answer a question under the

 Federal Rules of Civil Procedure.

       Further, when an attorney instructs a deponent not to answer a question based

 on one of the reasons enumerated in Rule 30(c)(2), s/he must immediately seek a

 protective order from the relevant court, unless one was obtained prior to the

 deposition or the examining counsel on the record agrees to withdraw the

 objectionable question. See Mitnor Corp., 339 F.R.D. 312 at 319. Unless the

 examining attorney agrees to withdraw the offending question or a party already has

 obtained a protective order, objecting counsel violates Rule 30(c)(2) when he



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 instructs a deponent not to answer a question and fails to move for a protective order.

 Id. To date, Defendant’s counsel has not yet sought a protective order, and thus any

 objection to this line of questioning was both improper and sanctionable. See, e.g.,

 Buckley Towers Condo., Inc. v. QBE Ins. Corp., No. 07-22988-CIV, 2008 WL

 2645680, at *6 (S.D. Fla. June 26, 2008). Despite having no basis whatsoever for

 instructing her witnesses not to respond to the question, Ms. Kreiter also violated the

 procedural technicalities under the Federal Rules of Civil Procedure for doing so.

 Because of this, Plaintiff should be entitled to conduct an additional deposition of

 both Mr. Hutto and Mr. Smith, in addition to other sanctions. See, e.g., Bank of

 America, N.A. v. Russo, No. 6:11-cv-734-Orl-22GJK, 2013 WL 12158131, at *7

 (M.D. Fla. Apr. 2, 2013) (“Thus, instructing a witness not to answer is disfavored

 by the Court, may subject the party or lawyer to expenses or sanctions, and imposes

 upon the instructing party the obligation to immediately move for a protective order

 under Rule 30(d), Federal Rules of Civil Procedure.”).

 II.   THERE IS NO CONFLICT BETWEEN THE DEFENDANT AND MR.
       KAREN’S REPRESENTATION OF PLAINTIFF.

       Even if Ms. Kreiter properly instructed the witnesses to not respond under the

 Federal Rules, there is no basis for this objection because there is no conflict of

 interest between Mr. Karen’s representation of Mutual and his prior representation

 of Waterstone, which occurred nearly twelve years ago. In considering whether an

 attorney should be disqualified for a purported conflict of interest, “[c]ourts must be


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 conscious of their responsibility to preserve a reasonable balance between the need

 to ensure ethical conduct of lawyers appearing before them and other social interests,

 which include a litigant’s right to freely choose counsel.” Perez v. City of Hialeah,

 526 F. Supp. 3d 1304, 1313 (S.D. Fla. 2020) (citing Woods v. Covington Cnty. Bank,

 537 F.2d 804, 810 (5th Cir. 1976)). An order for disqualification is a “drastic means

 which courts should hesitate to impose except when absolutely necessary.”

 Metrahealth Ins. Co. v. Anclote Psychiatric Hosp., Ltd., 961 F. Supp. 1580, 1582

 (M.D. Fla. 1997).

       Rule 4-1.9 of the Florida Rules of Professional Conduct2 provides as follows:

          A lawyer who has formerly represented a client in a matter must not
          afterwards:

              a) Represent another person in the same or a substantially
                 related matter in which that person’s interests are materially
                 adverse to the interests of the former client unless the former
                 client gives informed consent;

              b) Use information relating to the representation to the
                 disadvantage of the former client except as these rules would
                 permit or require with respect to a client or when the
                 information has become generally known; or

              c) Reveal information relating to the representation except as
                 these rules would permit or require with respect to a client.

 The Comment to Rule 4-1.9 provides:


 2
        Rule 2.01(e) of the Middle District of Florida Local Rules provides: “A lawyer
 appearing in the Middle District must remain familiar with, and is bound by, the
 rules governing the professional conduct of a member of The Florida Bar.”

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              Matters are “substantially related” for purposes of this rule if they
              involve the same transaction or legal dispute, or if the current
              matter would involve the lawyer attacking work that the lawyer
              performed for the former client.

 R. Regulating Fla. Bar 4-1.9 cmt. Moreover, “[t]he fact that a lawyer has once

 served a client does not preclude the lawyer from using generally known information

 about that client when later representing another client.” Perez v. City of Hialeah,

 526 F. Supp. 3d 1304, 1312 (S.D. Fla. 2020).

       Despite making an argument during the depositions that Mr. Karen drafted

 the agreements at issue, Defendant’s counsel was unable to point to any evidence

 whatsoever to corroborate this. To the contrary, the allegations in the two cases are

 entirely different, and it cannot be said that the representations were the same or

 “substantially related.” The Herrington case involved an FLSA plaintiff seeking

 overtime compensation against Defendant, which is entirely different from this case

 involving allegations of misappropriation of trade secrets and confidential

 information against Defendant. And further, the Herrington agreement that Ms.

 Kreiter complains about does not contain the same provisions as the provisions that

 are at issue here. Indeed, the provisions germane to this case that Mr. Karen was

 attempting to inquire about are in no manner present in the Herrington agreement.

 Under no circumstances whatsoever can it be said that the two cases are substantially

 similar, let alone the same, such that disqualification would be warranted.




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III.   EVEN IF A CONFLICT PREVIOUSLY EXISTED, DEFENDANT HAS
       SINCE WAIVED THAT COMPLAINT.

       It is undisputed that Defendant did not raise any objection to Mitchell Sandler,

 LLC’s or Mr. Karen’s representation of Plaintiff until one year after this action was

 filed and during two critical depositions. A failure to make a timely objection, such

 as here, to a party’s representation may result in a waiver. Cox v. American Cast

 Iron Pipe Co., 847 F.2d 725, 729 (11th Cir. 1988) (citing Trust Corp. v. Piper

 Aircraft Corp., 701 F.2d 85, 87-88 (9th Cir. 1983)); Redd v. Shell Oil Co., 518 F.2d

 311, 316 (10th Cir. 1975); Glover v. Libman, 547 F. Supp. 748, 760 (N.D. Ga. 1983).

              A motion to disqualify should be made with reasonable
              promptness after a party discovers the facts which lead to the
              motion. A litigant may not delay filing a motion to disqualify in
              order to use the motion later as a tool to deprive his opponent of
              counsel of his choice after substantial preparation of the case has
              been completed.

 Cox, 847 F.2d at 729 (citing Jackson v. J.C. Penney Co., 521 F. Supp. 1032, 1034-

 35 (N.D. Ga. 1981)); see also Shaw v. Broad and Cassel, No. 11-23689-CIV, 2012

 WL 315050, at *1 (S.D. Fla. Feb. 1, 2012) (“Certainly a party can waive his right to

 seek disqualification of the opposing party’s counsel by failing to promptly move

 for disqualification upon learning of the facts leading to the alleged conflict.”).

 Accordingly, even if a conflict of interest existed, which it does not, Defendant has

 since waived this objection and should not be permitted to raise it on the eve of




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 discovery closing in this action to prevent Plaintiff from receiving highly relevant

 information.

IV.    MONETARY SANCTIONS ARE WARRANTED.

       The Court is free to use its own knowledge and experience to determine a

 reasonable fee that would cover expenses in connection with a discovery motion.

 See Norman v. Hous. Auth. Of City of Montgomery, 836 F.2d 1292, 1303 (11th Cir.

 1988) (finding that a court may use its knowledge and experience concerning

 reasonable and proper legal fees). Pursuant to Federal Rule of Civil Procedure

 30(d)(2), “[t]he court may impose an appropriate sanction—including the reasonable

 expenses and attorney’s fees incurred by any party—on a person who impedes,

 delays, or frustrates the fair examination of the deponent.” It is well established that

 “participants in a deposition—particularly the relevant attorneys—are entrusted with

 the responsibility of conducting depositions efficiently, orderly, and courteously.”

 Mitnor Corp. v. Club Condos., 339 F.R.D. 312, 316 (N.D. Fla. 2021). “For the

 process to succeed, it is essential that the parties, attorneys, and witnesses

 participating in depositions conduct themselves with civility and decency.” Id.

 Unlike sanctions imposed pursuant to the court’s inherent powers, Rule 37 fee

 awards do not require a finding of bad faith. Smith v. Atl. Postal Credit Union, 350

 Fed. Appx. 347, 350 (11th Cir. 2009).




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        For the foregoing reasons, Plaintiff respectfully requests that this Court grant

 Plaintiff’s Motion, compel the second depositions of Mr. Hutto and Mr. Smith, and

 order Defendant to pay Plaintiff’s attorney’s fees and costs associated with the

 depositions of Dwayne Hutto and Christopher Smith, and further for the fees and

 costs associated with filing this Motion.

                      LOCAL RULE 3.01(g) CERTIFICATION

        Pursuant to Local Rule 3.01(g), undersigned counsel attempted to confer with

 Defendant’s counsel. At the time of filing this Motion, lead counsel for Defendant had

 not yet responded. In accordance with the Local Rules for the Middle District of

 Florida, Plaintiff will try diligently for three days to contact the opposing party and will

 supplement the motion with a statement certifying whether a resolution has been

 reached.




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 Dated:    Washington, D.C.
           July 21, 2023


                          MITCHELL SANDLER LLC

                          By: /s/ Courtney E. Walter

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